     2:21-cv-00042-RMG          Date Filed 05/25/21        Entry Number 70         Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION


 Commissioners of Public Works of the City         ) Civil Action No. 2:21-cv-42-RMG
 of Charleston (d/b/a Charleston Water             )
 System), Individually and on Behalf of All        )
                                                   )
 Others Similarly Situated,
                                                   )
                                     Plaintiffs,   )
                                                   )
       -versus-                                    )
                                                   )
 Costco Wholesale Corporation, CVS Health          )
 Corporation, Kimberly-Clark Corporation,          )
 The Procter & Gamble Company, Target              )
                                                   )
 Corporation, Walgreens Boots Alliance,
                                                   )
 Inc. And Wal-Mart, Inc.                           )
                                                   )
                                  Defendants.
                                                   )
                                                   )
                                                   )

               DEFENDANTS’ MEMORANDUM OF LAW IN RESPONSE TO
                PLAINTIFF’S MOTION FOR PRELIMINARY APPROVAL
                         OF CLASS ACTION SETTLEMENT

         Defendants Costco Wholesale Corporation, CVS Health Corporation, The Procter &

Gamble Company, Target Corporation, and Walgreens Boots Alliance, Inc. (“Defendants”), by

their undersigned attorneys, respectfully submit this Memorandum of Law in Response to the

Motion for Preliminary Approval of Class Action Settlement (“Settlement Motion”) filed by the

Commissioners of Public Works of the City of Charleston (“Plaintiff”).

I.      THE COURT SHOULD ASCERTAIN SUBJECT MATTER JURISDICTION
        PRIOR TO DECIDING THE SETTLEMENT MOTION

        The Court should deny or hold in abeyance Plaintiff’s Settlement Motion until the Court

ascertains whether it has subject matter jurisdiction in this case. As set forth in Defendants’ Joint

Motion to Dismiss (ECF No. 46), this Court lacks subject matter jurisdiction and should dismiss


4831-2073-0346.v5.32851.75719
    2:21-cv-00042-RMG           Date Filed 05/25/21        Entry Number 70          Page 2 of 4




the action under Fed. R. Civ. P. 12(b)(1) because Plaintiff lacks standing under Article III of the

U.S. Constitution to prosecute its claims. See ECF No. 46-1 at pp. 4-11. 1 Defendants will be

prejudiced by the approval of a class action settlement prior to the Court’s adjudication of subject

matter jurisdiction, because if Plaintiff lacks Article III standing, this case should be terminated

rather than prolonged.

        Article III standing must be ascertained by a district court prior to considering a motion for

preliminary approval of a classwide settlement. See Murkansky v. Godiva Chocolatier, Inc., 979

F. 3d. 917 (11th Cir. 2020). The Supreme Court has confirmed that a “court is powerless to

approve a proposed class settlement if it lacks jurisdiction over the dispute, and federal courts lack

jurisdiction if no named plaintiff has standing.”      Frank v. Gaos, 139 S. Ct. 1041, 1046, 203

L.Ed.2d 404 (2019). See also Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94, 118 S.Ct.

1003, 140 L.Ed.2d 210 (1998) (“Without jurisdiction the court cannot proceed at all in any cause.”)

(citation omitted); Constantine v. Rectors & Visitors of George Mason Univ., 411 F.3d 474, 479–

80 (4th Cir. 2005).

        Furthermore, Plaintiff and Kimberly-Clark can neither waive nor stipulate to the existence

of subject matter jurisdiction. See Insurance Corp. of Ireland v. Compagnie des Bauxites de

Guinee, 456 U.S. 694, 702 (1982).

        Therefore, the Court must first decide Defendants’ Joint Motion to Dismiss prior to

considering the Settlement Motion. See ECF No. 46




1   Although defendant Kimberly-Clark did not join in the Joint Motion to Dismiss on account of
    the Settlement Motion, jurisdiction is lacking as to all named defendants (including Kimberly
    Clark), since Plaintiff advanced the same deficient allegations and claims against all
    defendants. See generally, Complaint.

                                                 -2-
4831-2073-0346.v5.32851.75719
      2:21-cv-00042-RMG         Date Filed 05/25/21    Entry Number 70       Page 3 of 4




II.     CONCLUSION

        Defendants respectfully request that this Court deny the Settlement Motion, or in the

alternative, delay any consideration of the Settlement Motion until after the Court rules on

Defendants’ Joint Motion to Dismiss.

                                                   Respectfully submitted,

 Counsel for Walgreens Boots Alliance,          Attorneys for Costco Wholesale
 Inc.                                           Corporation, CVS Health Corporation
                                                and Target Corporation

 ANDERSON REYNOLDS & STEPHENS                   TUCKER ELLIS, LLP
 LLC
                                                s/ John Q. Lewis
 s/ Lisa A. Reynolds                            John Q. Lewis, Esquire
 Lisa A. Reynolds, Esquire                      950 Main Ave, Suite 1100
 W. Coleman Lawrimore, Esquire                  Cleveland, OH, 44113-7213
 Federal Bar #                                  John.lewis@tuckerlewis.com
 37 ½ Broad Street                              Office (216) 696-5235
 P.O. Box 87
 Charleston, SC 29402                           And
 (843) 723-0185
 lreynolds@arslawsc.com                         HOOD LAW FIRM
 clawrimore@arslawsc.com
                                                s/ Molly H. Craig
 and                                            Molly H. Craig, Esquire
                                                172 Meeting St.
 CHUHAK & TECSON, P.C.                          Charleston, SC 29401
                                                Office (843) 577-1215
 s/ David Tecson__                              Molly.craig@hoodlaw.com
 David Tecson, Esquire
 Loretto Kennedy, Esquire
 30 South Wacker Drive, Ste 2600
 Chicago, IL 60606
 (312) 444-9300
 dtecson@chuhak.com
 lkennedy@chuhak.com
 Attorneys for The Procter and Gamble
 Co.

                                             -3-
4831-2073-0346.v5.32851.75719
    2:21-cv-00042-RMG           Date Filed 05/25/21   Entry Number 70   Page 4 of 4




 KRAMER LEVIN NAFTALIS &
 FRANKEL LLP

 s/ Eileen Patt
 Eileen Patt, Esquire
 Harold P. Weinberger, Esquire
 Harry P. Morgenthau, Esquire
 Kramer Levin Naftalis & Frankel LLP
 1177 Avenue of the Americas
 New York, NY 10036
 Office (212) 715-9347
 EPatt@Kramerlevin.com
 hmorgenthau@kramerlevin.com
 nweinbergger@kramerlevin.com

 And

 NELSON MULLINS RILEY &
 SCARBOROUGH, LLP

 s/ Robert W. Foster, Jr.
 Robert W. Foster, Jr. Esquire
 Scott D. MacLatchie, Jr. Esquire
 PO Box 11070
 Columbia, SC 29211
 Office 803-799-2000
 Robbie.foster@nelsonmullins.com
 Scott.maclatchie@nelsonmullins.com

 And

 Andrew M. Connor, Esquire
 Nelson Mullins Riley & Scarborough, LLP
 151 Meeting St., Suite 600
 Charleston, SC 29401
 Office (843) 853-5200
 Andrew.connor@nelsomullins.com




                                             -4-
4831-2073-0346.v5.32851.75719
